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                                IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors.1                          (Jointly Administered)

                                                                      Ref. Docket Nos. 892, 1170, 1200

                                                                      Hearing Date: January 24, 2024 at 10:00 a.m. ET

                          NOTICE OF FILING REDLINE TO MODIFIED THIRD
                       AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION
                          OF AMYRIS, INC. AND ITS AFFILIATED DEBTORS

          PLEASE TAKE NOTICE that on January 23, 2024, the above-captioned debtors and

debtors in possession (the “Debtors”) filed the Third Amended Joint Chapter 11 Plan of

Reorganization of Amyris, Inc. and Its Affiliated Debtors, as Modified (the “Modified Third

Amended Plan”) [Docket No. 1200].2 Attached hereto as Exhibit 1 is a blackline comparing the

Third Amended Plan filed on January 22, 2024 [Docket No. 1170] to the Modified Third

Amended Plan.

          PLEASE TAKE FURTHER NOTICE THAT the Debtors will seek approval of the

Third Amended Plan and entry of the Confirmation Order at a hearing scheduled to commence at

10:00 a.m. (Eastern Time) on January 24, 2024 before the Honorable Thomas M. Horan, United

States Bankruptcy Judge, at the United States Bankruptcy Court, 824 North Market Street, 5th

Floor, Courtroom No. 5, Wilmington, Delaware 19801 (the “Confirmation Hearing”). The

Confirmation Hearing may be continued by the Court or the Debtors without further notice other


1
     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
     Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.
2
     A capitalized term used but not otherwise defined herein shall have the meaning ascribed to it in the Third
     Amended Plan.

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than by announcement of same in open court and/or by the filing and service of a notice of

adjournment.

          PLEASE TAKE FURTHER NOTICE THAT copies of the Third Amended Plan,

related disclosure statement, the documents included in the Plan Supplement, or any other

document filed in the Debtors’ chapter 11 cases may be obtained free of charge by visiting the

Debtors’ claims and noticing agent’s website at https://cases.stretto.com/amyris. You may also

obtain     copies      of       any   pleadings   by   visiting the Court’s website for a fee at

https://www.deb.uscourts.gov. A login identification and password to the Court’s Public Access

to Court Electronic Records (“PACER”) are required to access this information and can be

obtained through the PACER Service Center at https://www.pacer.uscourts.gov.

Dated: January 23, 2024                                    PACHULSKI STANG ZIEHL & JONES LLP

                                                           /s/ James E. O’Neill
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                                                           Debra I. Grassgreen (admitted pro hac vice)
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                                                           Counsel to the Debtors and Debtors in Possession




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